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                        Exhibit F




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From: Kimberly Oelman <kfdonnan@gmail.com>
Date: June 2, 2014 at 10:21:13 AM PDT
To: Nicolas Goureau <nicolas@courageb.com>, Stephanie Menkin
<stephanie@courageb.com>
Subject: Fwd: The Profit 2B - Courage B business release
comments/questions


Hey guys:

See revised redline and clean drafts of the business agreement and owner/key
employee agreement attached incorporating language pertaining to your
confidentiality agreement.

If this language is suitable to you, please sign:
A. (1) clean business agreement on behalf of Courage B and
                                        1
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B. (1) clean business agreement on behalf of Fopps as well as
C. Nicolas, noemi, and Stephanie one each sign a clean copy of the owner/key
employee agreement

Let me know if you have any questions!

Kimberly Donnan

Begin forwarded message:




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